                                                                                   FILE®
                                                                              U.S. DISTRICT COURT
                                                                            MIDDLE DISTRICT OF TENN.
                           UNITED STATES DISTRICT COURT
                                                                                   AUG 1 0 2016
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION
                                                                              BY
                                                                                     EPUTY CLERK


UNITED STATES OF AMERICA                         )
                                                     NO. 3:16-00102
   V.                                            )
                                                            18 U.S.C. § 751(a)
JAMES C. MCWHORTER                               )




                                 INDICTMENT
                                          OnTTNTT nNTR


        THE GRAND JURY CHARGES:

        On or about September 7, 2015, in the Middle District of Tennessee, the defendant,

JAMES C. McWHORTER, did knowingly escape from custody in Dierson Charities, a residential

reentry center and institutional facility in which he was lawfully confined at the direction of the

Attorney General by virtue of a judgment and commitment of the United States District Court for

the Middle District of Tennessee upon conviction for the commission of the following offenses:

Conspiracy to Produce False Identification Documents and Produce Counterfeit Securities, in

violation of Title 18 United States Code, Section 371; Production of False Identification

Documents, in violation of Title 18 United States Code, Section 1028(a)(1); Possession with Intent

to Use Five or More False Identification Documents, in violation of Title 18 United States Code,

Section 1028(a)(3); Unlawful Possession of Document Making Implements, in violation of Title




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        Case 3:16-cr-00162 Document 1 Filed 08/10/16 Page 1 of 2 PageID #: 1
18 United States Code, Section 1028(a)(5); and Aggravated Identity Theft, in violation of Title 18

United States Code, Section 1028A.

       In violation of Title 18, United States Code, Section 751.



                                                    A TRUE BILL



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DAVID RIVERA
UNITED STATES ATTORNEY



S. CARRAN DAUGHTRE
ASSISTANT UNITED STATES ATTORNEY




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      Case 3:16-cr-00162 Document 1 Filed 08/10/16 Page 2 of 2 PageID #: 2
